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                               UNITED STATES BANKRUPTCY COURT
                                                   SOUTHERN DISTRICT OF MISSISSIPPI
                                                         JACKSON DIVISION

In re: JOHN OSKER INGRUM                                                                                 Case No.: 10-02015-NPO

                Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
Harold J. Barkley,Jr., chapter 13 trustee, submits the following Final Report and Account of the administration of the estate pursuant to 11
U.S.C. Section 1302(b)(1). The trustee declares as follows:

1) The case was filed on 06/09/2010.
2) The plan was confirmed on 09/14/2010.
3) The plan was modified by order after confirmation pursuant to 11 U.S.C Section 1329 on NA.
4) The trustee filed action to remedy default by the debtor in performance under the plan on 11/10/2010.
5) The case was dismissed on 03/25/2011.
6) Number of months from filing or conversion to last payment: 2.
7) Number of months case was pending: 10.
8) Total value of assets abandoned by court order: NA.
9) Total value of assets exempted: 10,000.00.
10) Amount of unsecured claims discharged without full payment: .00.
11) All checks distributed by the trustee relating to this case have cleared the bank.

 Receipts:
       Total paid by or on behalf of the debtor:             $6,141.00
       Less amount refunded to debtor:                             $.00
 NET RECEIPTS:                                                                    $6,141.00

 Expenses of Administration:
       Attorney's Fees Paid Through The Plan:                                         $.00
       Court Costs:                                                                   $.00
       Trustee Expenses and Compensation:                                         $298.11
       Other:                                                                         $.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                   $298.11

 Attorney fees paid and disclosed by debtor:                     $.00




 Scheduled Creditors:
Creditor                                                       Claim             Claim             Claim          Principal           Interest
Name                                        Class              Scheduled         Asserted          Allowed        Paid                Paid
COLLECTION COMPANY OF AM                    Unsecured             1,006.00              NA              NA               .00                 .00
COMMUNITY BANK                              Secured            154,727.32       166,614.53        2,302.99         2,302.99           1,381.48
COMMUNITY BANK                              Secured             55,069.00        55,069.49          707.40           707.40             413.48
COMMUNITY BANK                              Secured             18,290.00        19,275.05              .00              .00                 .00
COMMUNITY BANK                              Unsecured             5,500.00              NA              NA               .00                 .00
EASOM HARDWARE                              Unsecured             2,615.50              NA              NA               .00                 .00
EXCELL BUILDING SUPPLY                      Unsecured             4,500.00              NA              NA               .00                 .00
GILCO POUTRY EQUIPMENT                      Unsecured             4,210.00              NA              NA               .00                 .00
GLEN H. WILLIAMS P. A.                      Unsecured                     NA            NA              NA               .00                 .00
KING POULTRY                                Unsecured           34,650.00               NA              NA               .00                 .00
NCO FINANCIAL SERVICES                      Unsecured               232.00              NA              NA               .00                 .00
OXCOLLECTION                                Unsecured                55.00              NA              NA               .00                 .00
PATRICK MCALLISTER                          Unsecured                     NA            NA              NA               .00                 .00
RMB , INC                                   Unsecured             1,850.00              NA              NA               .00                 .00
S.E LACKEY MEMORIAL                         Unsecured             1,850.00              NA              NA               .00                 .00

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                                 UNITED STATES BANKRUPTCY COURT
                                              SOUTHERN DISTRICT OF MISSISSIPPI
                                                    JACKSON DIVISION

In re: JOHN OSKER INGRUM                                                                                    Case No.: 10-02015-NPO

                Debtor(s)

                    CHAPTER 13 STANDING TRUSTEE'S FINAL REPORT AND ACCOUNT
 Scheduled Creditors:
Creditor                                                     Claim               Claim            Claim            Principal           Interest
Name                                      Class              Scheduled           Asserted         Allowed          Paid                Paid
SMS                                       Unsecured                50.00               NA               NA                .00                 .00
SOCIAL SECURITY ADMIN                     Unsecured               582.00               NA               NA                .00                 .00
SOCIAL SECURITY ADMIN                     Unsecured                  NA                NA               NA                .00                 .00
THE DURHAM COMPANY                        Unsecured             4,249.98         8,456.95         8,456.95             16.39                  .00
TYLVESTER O GOSS                          Special                    NA          1,421.15         1,421.15         1,021.15                   .00
WILLIFORD MCALLISTER & JACOBUS JRUnsecured                           NA                NA               NA                .00                 .00

 Summary of Disbursements to Creditors:                                                           Claim            Principal           Interest
                                                                                                  Allowed          Paid                Paid
 Secured Payments:
     Mortgage Ongoing:                                                                                 .00              .00                 .00
     Mortgage Arrearage:                                                                               .00              .00                 .00
     Debt Secured by Vehicle:                                                                          .00              .00                 .00
     All Other Secured:                                                                           3,010.39         3,010.39            1,794.96
 TOTAL SECURED:                                                                                   3,010.39         3,010.39            1,794.96

 Priority Unsecured Payments:
     Domestic Support Arrearage:                                                                        .00               .00                 .00
     Domestic Support Ongoing:                                                                          .00               .00                 .00
     All Other Priority:                                                                                .00               .00                 .00
 TOTAL PRIORITY:                                                                                        .00               .00                 .00

 GENERAL UNSECURED PAYMENTS:                                                                      9,878.10         1,037.54                   .00

 Disbursements:
       Expenses of Administration:                                                                $298.11
       Disbursements to Creditors:                                                              $5,842.89
 TOTAL DISBURSEMENTS:                                                                                                                $6,141.00

   12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate has been fully administered, the
   foregoing summary is true and complete, and all administrative matters for which the trustee is responsible have been completed.
   The trustee requests a final decree be entered that discharges the trustee and grants such other relief as may be just and proper.


                  Date:     04/22/2011                                     By:   /s/Harold J. Barkley,Jr.
                                                                                 Trustee
           STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
           exemption 5 C.F.R. Section 1320.4(a)(2) applies.




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